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                                                              February 13, 2019

        VIA ECF

        Honorable Brian M. Cogan
        United States District Judge
        United States District Court, Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201


                  Re:     Freeman, et al. v. HSBC Holdings plc, et al., 18-cv-7359 (BMC)
                          Freeman, et al. v. HSBC Holdings plc, et al., 14-cv-6601 (DLI)(CLP)


        Dear Judge Cogan:

                Plaintiffs write in response to the Court’s February 11, 2019 Minute Entry and Order,
        issued following the Initial Status Conference that day, directing the parties “to file their positions
        on case consolidation and administration” by February 18, 2019.

                Plaintiffs agree that Freeman II, filed on December 26, 2018 and assigned to Your Honor,
        is substantively related to Freeman I, filed on November 10, 2014 and assigned to Chief Judge
        Irizarry. They involve the same Defendants, factual underpinnings, and legal theories. The cases
        comprise more than 1,200 Plaintiffs – more than 200 of whom filed their case in November 2014.

                As such, Plaintiffs believe that Freeman I and Freeman II should be consolidated.
        Regarding how best to proceed, Plaintiffs seek a procedural arrangement convenient to the Court
        that would result in the most expeditious adjudication of their claims. On July 27, 2018, Magistrate
        Judge Cheryl L. Pollak’s 135-page Report and Recommendation (“R&R”) proposed rejection of
        Defendants’ Freeman I motions to dismiss in their entirety. In Plaintiffs’ view, while not
        dispositive, the R&R signals that these cases – which deal with the deaths and grievous injuries to
        American service members – deserve to be adjudicated as efficiently as the Court’s docket permits.

                Freeman II was filed as a stand-alone case following Defendants’ refusal to consent to an
        amended complaint in Freeman I that would have added only a large number of additional
        plaintiffs and attacks (but no new legal theories or factual allegations against the Defendants).1

        1
                 As Plaintiffs noted at the Initial Status Conference, all Defendants were e-mailed copies of the Freeman II
        complaint on the day it was filed, but Defendants ignored two e-mails requesting that they accept service. Accordingly,
        each Defendant was served in the ordinary course, and most defense counsel filed their notices of appearance in the
        past several days.
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The substantive difference between the two actions – as Plaintiffs’ counsel noted at the Initial
Status Conference – is that Freeman II contains explicitly enumerated Justice Against Sponsors of
Terrorism Act (“JASTA”) claims (18 U.S.C. § 2333(d)) in its complaint. However, although
§ 2333(d) was not enacted until after the Second Amended Complaint in Freeman I was filed (the
section operates retroactively), it was fully briefed by the parties prior to Magistrate Judge Pollak’s
issuance of the R&R, and it underlies many of her recommendations.

       We are mindful that Freeman I was assigned to Chief Judge Irizarry before she took on the
duties of Chief Judge and that Freeman II only adds (considerably) to the scope of the case.
Therefore, we defer to the Court as to whether, in the totality of the circumstances (including Your
Honor’s own docket), these complex cases should be consolidated and overseen by Your Honor.

        In sum, as the fourth anniversary of the filing of Freeman I has passed, Plaintiffs’ principal
concern is that whatever administrative approach the Court ultimately chooses, the Freeman cases
are consolidated and the Plaintiffs’ claims are adjudicated as promptly as practicable and resolved
by a jury, as Magistrate Judge Pollak’s R&R has recommended.


                                               Respectfully submitted,


                                               /s/ Gary M. Osen


cc:     Chief Judge Dora L. Irizarry
        All Counsel
